Case 1:05-cv-01067-.]DT-STA Document 29 Filed 04/28/05 Page 1 of 3 Page|D 16

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IN THE UNITED STATES DISTRICT COURT 034/0 \"'
FOR THE WESTERN DISTRICT OF TENNESSEE pape ~ Z)/,
EASTERN DIVISION '('“'

PAULINE THARPE, by next friend and
attorney in fact, MARSHALL THARPE

Plaintiff,
vs.

MERCK & CO., INC.; RONNIE L.

BATCHELOR, DPH; TAMMY RENE N.

PRATHER, DPH; BECKY CAPPS

TEAL, DPH; EXPRESS SCRIPTS, INC.;

STEPHANIE B. (BUCK) ISON;
COURTNEY SHAY (INGRAM)
MeMAKIN; VINAY KRISHAN Sool);
MELIssA CAROL (M¢ALLISTER)
BARNES; MICHAEL RICHARDS;
PATRICIA BLASINGAME and sCOTT
EVANS,

Defendants

 

 

Case No.:

1-05-1067 TfAn

ORDER GRANTING CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND
TO DEFENDANT EXPRESS SCRIPTS, INC.’S MOTION TO DISMISS

This matter came on to be heard upon the Consent Motion of Pla:intift`s requesting an

additional one (l) week to respond to Defendant Express Scripts, Inc.’s Motion to Dismiss. For

the reasons set forth in the Motion, the Court finds the motion is Well taken and should be

granted

IT IS THEREFORE ORDERED that the consent motion of Plaintiffs, for an extension of

time is hereby GRANTED and that Plaintiffs shall have until Wednesday, May 4 to respond to

Defendant Express Scripts, lnc.’s Motion to Disrniss.

Signed this the Q_Y& day off :Z-Mé , 2005.

compliance

Thls document entered on the docket sheet ln’?_ 05
with Hu|e 58 and.'or_'!S (a) FRGP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 1:05-CV-01067 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

ESSEE

 

.1 oseph R. Alexander
Mithoff & lacks
500 Dallis St.

Ste. 3450

Houston, TX 77002

.1 ames L. Wright
Mithoff & lacks7 P.C.
11 1 Congress Avenue
Suite 1010

Austin7 TX 78701

T. Robert Hill

H[LL BOREN

1269 N. Highland Ave.
Jackson7 TN 38303--053

Stephen P. Hale

HUSCH & EPPENBERGER
200 .1 efferson Ave.

Ste. 1450

1\/1emphis7 TN 38103

Thornas F. Preston

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/1emphis7 TN 38103--540

Steven G. Ohrvall

H[LL BOREN- .1 ackson
1269 N. Highland Ave.
P.O. Box 3539

Jackson7 TN 38303--353

Case 1:05-cv-01067-.]DT-STA Document 29 Filed 04/28/05 Page 3 of 3 Page|D 18

Buffey Klein

HUSCH & EPPENBERGER
200 .1 efferson Ave.

Ste. 1450

1\/1emphis7 TN 38103

Pam Warnock Green

MCNABB BRAGORGOS & BURGESS, PLLC
81 Monroe Ave.

SiXth Floor

1\/1emphis7 TN 38103--540

.1 ames 1\/1. Doran

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Thornas M. Donnell

STEWART ESTES & DONNELL
424 Church St.

Ste. 1401

Nashville, TN 37219--239

Lela M. Hollabaugh

WALLER LANSDEN DORTCH & DAVIS
511 Union St.

Ste. 2700

Nashville, TN 37219--896

Honorable .1 ames Todd
US DISTRICT COURT

